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                              No. 23-55770
      IN THE UNITED STATES COURT OF APPEALS
              FOR THE NINTH CIRCUIT

                        SKOT HECKMAN, ET AL.,
                                    Plaintiffs-Appellees,
                                 v.
     LIVE NATION ENTERTAINMENT, INC.; TICKETMASTER, LLC,
                                 Defendants-Appellants.

 On Appeal from the U.S. District Court for the Central District of
       California, No. 2:22-cv-00047 (Hon. George H. Wu)

BRIEF OF THE CHAMBER OF COMMERCE OF THE UNITED
STATES OF AMERICA AS AMICUS CURIAE IN SUPPORT OF
      DEFENDANTS-APPELLANTS AND REVERSAL


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     RULE 26.1 CORPORATE DISCLOSURE STATEMENT

     The Chamber of Commerce of the United States of America states

that it is a non-profit, tax-exempt organization incorporated in the

District of Columbia. The Chamber has no parent corporation, and no

publicly held company has 10% or greater ownership in the Chamber.




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               INTEREST OF THE AMICUS CURIAE1

     The Chamber of Commerce of the United States of America is the

world’s largest business federation. It represents approximately 300,000

direct members and indirectly represents the interests of more than three

million companies and professional organizations of every size, in every

industry sector, and from every region of the country. An important

function of the Chamber is to represent the interests of its members in

matters before Congress, the Executive Branch, and the courts. To that

end, the Chamber regularly files amicus curiae briefs in cases, like this

one, that raise issues of concern to the nation’s business community, such

as the enforceability of arbitration agreements and interpretation of the

Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 1-16.

     Many of the Chamber’s members and affiliates regularly rely on

arbitration agreements. Arbitration is speedy, fair, inexpensive, and less

adversarial than litigation. The Chamber’s members and affiliates have




1   No counsel for a party authored this brief in whole or in part, and no
person, aside from amicus curiae, its members, or its counsel, made any
monetary contribution intended to fund the preparation or submission of
this brief. See Fed. R. App. P. 29(a)(4)(E). All parties consented to the
filing of this brief.

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entered into millions of contractual relationships providing for

arbitration precisely to achieve those benefits.

     The ruling below rests on legal errors that, if permitted to stand,

would severely threaten the availability of arbitration’s benefits for

companies and consumers alike.

     First, the district court failed to acknowledge critical context: the

rise of abusive mass arbitrations. That phenomenon has compelled

businesses to develop procedures that facilitate the orderly resolution of

claims on the merits rather than through blackmail settlements based on

threatened arbitration fees. Courts should recognize the importance of

protecting   and    promoting     merits-based      resolutions     and       uphold

reasonable procedures furthering that goal.

     Second, at every turn the district court improperly construed the

agreement in a manner that supported invalidation on substantive

unconscionability grounds, rather than interpreting provisions it deemed

ambiguous to provide for reasonable procedures. The court likewise failed

to sever any allegedly offending provisions. This approach violates settled

principles governing the interpretation of arbitration agreements (and

contracts generally) requiring courts to preserve them if at all possible.



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     For these reasons, the Chamber has a strong interest in this case

and in reversal of the decision below.

    INTRODUCTION AND SUMMARY OF THE ARGUMENT

     The Federal Arbitration Act prohibits courts from disfavoring

arbitration as a means of resolving disputes and, with narrow exceptions,

directs courts to “enforce arbitration agreements according to their

terms—including terms providing for individualized proceedings.” Epic

Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1619 (2018).

     Despite this requirement, the district court improperly allowed

plaintiffs to circumvent their agreements for individual arbitration,

primarily taking issue with the procedures specified in the arbitration

agreement—which reflect one of several different attempts to develop a

fair solution to the burgeoning mass arbitration abuse. The Chamber

focuses here on two of the district court’s key legal errors that have

important implications for the broader business community.

     First, the district court’s decision did not adequately account for the

legitimate justification for the challenged procedures: the rise of abusive

mass arbitrations that undermine the purpose and benefit of individual

arbitration—economical, fair, and efficient resolution of disputes on the



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merits. A recent report by the Chamber’s Institute for Legal Reform

explains that mass arbitrations are subject to serious abuse. See U.S.

Chamber of Commerce Institute for Legal Reform, Mass Arbitration

Shakedown:      Coercing      Unjustified       Settlements      (Feb.        2023),

https://bit.ly/3qTzu1q (Mass Arbitration Shakedown).2

     Put simply, a number of plaintiffs’ lawyers are leveraging the

arbitration fees associated with threatened mass arbitration filings to, in

effect, blackmail companies into agreeing to settle disputes for

astronomical amounts, without regard to the merit of the underlying

claims or whether the claimants are even customers of the defendant

company.

     In response to this abuse of arbitration, businesses have developed

solutions—modeled on approaches used by MDL courts—that specify

reasonable procedures for orderly resolution of mass arbitrations based

on the merits of the underlying claims, rather than extortionate fee

threats. It is hardly unconscionable for parties to agree to solutions of

this kind, and this Court should avoid a ruling that would prevent parties



2  Some of the lawyers submitting this brief authored the Chamber
report.

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from entering into agreements that reasonably prevent abuses of the

arbitration process.

     Second, faced with contractual terms that it viewed as ambiguous,

the district court improperly stretched to interpret the arbitration

agreement      and   its   delegation       clause   as   unconscionable      and

unenforceable. But under the FAA and general contract law, courts

should lean in the opposite direction, resolving uncertainties in favor of

an interpretation that preserves the parties’ agreement to arbitrate.

Relatedly, the district court improperly assumed that arbitrators would

not appropriately exercise their considerable discretion over the

arbitration process. And the district court erred in refusing to give effect

to the parties’ severability provision and selection of alternative

arbitrators.

     The district court’s order denying arbitration should be reversed.




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                                 ARGUMENT

I.    Courts Should Recognize The Illegitimacy Of Extortionate
      Mass Arbitrations And Uphold Procedures That Reasonably
      Address That Threat.

      A.     Consumers and businesses benefit from individual
             arbitration.

      Multiple studies confirm that consumers and workers who arbitrate

fare at least as well, if not better, than ones who litigate in court. A recent

study released by the Chamber’s Institute for Legal Reform surveyed

more than 41,000 consumer arbitration cases and 90,000 consumer

litigation cases resolved between 2014 to 2021 and found that:

      • Consumers who initiate cases were over 12% more likely to win

           in arbitration than in court;3

      • The median monetary award for consumers who prevailed in

           arbitration was more than triple the award that consumers

           received in cases won in court;4 and




3 Nam D. Pham & Mary Donovan, Fairer, Faster, Better III: An Empirical

Assessment of Consumer and Employment Arbitration 4-5 (Mar. 2022),
https://bit.ly/3SK7QwA (41.7% in arbitration compared to 29.3% in
court).
4 Id. at 4-5 ($20,356 in arbitration compared to $6,669 in court).




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     • On average, arbitration of consumer disputes is more than 25%

        faster than litigation in court.5

Prior studies of consumer arbitration similarly report that consumers in

arbitration fare at least as well as consumers in court.6

     The use of arbitration also provides businesses with significant

incentives to invest in robust pre-arbitration dispute resolution practices

to address consumers’ concerns before any arbitration is initiated.

Companies heavily subsidize most or all costs of arbitration, and it is thus

in their interest to make claimants with legitimate concerns whole—or

more than whole—before a demand is filed and the business incurs the

associated arbitration fees. And companies frequently do just that. See

Mass Arbitration Shakedown, supra, at 9.




5 Id. at 4-5 (321 days in arbitration compared to 439 days in court).

6 See, e.g., Christopher R. Drahozal & Samantha Zyontz, Creditor Claims

in Arbitration and in Court, 7 Hastings Bus. L.J. 77, 80 (2011);
Christopher R. Drahozal & Samantha Zyontz, An Empirical Study of
AAA Consumer Arbitrations, 25 Ohio St. J. on Disp. Resol. 843, 896-904
(2010); Ernst & Young, Outcomes of Arbitration: An Empirical Study of
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U. L. Rev. 433, 437 (1996).

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     Consumers who have a dispute with a business are not the only

beneficiaries of arbitration. Because arbitration reduces the cost of

dispute resolution, it also reduces the company’s overall cost of doing

business. The forces of market competition then cause those savings to

be passed along to consumers in the form of lower prices and to employees

in the form of higher wages.7 Without arbitration, there are no savings,

and the result is higher prices and lower wages. And the ripple effects of

these changes are felt throughout the economy.

     B.    Mass arbitration has emerged as a vehicle for abusive
           gamesmanship.

     The critical context for this appeal is the recent phenomenon of

mass arbitrations, in which plaintiffs’ attorneys purport to enroll

thousands of clients, often through a minimal online process, to prosecute

the same or similar claims against a business. The lawyers then threaten

to file tens of thousands of arbitrations at the same time, which would

trigger the target company’s immediate obligation to pay tens or




7  Stephen J. Ware, The Centrist Case for Enforcing Adhesive Arbitration
Agreements, 23 Harv. Negotiation L. Rev. 29, 85, 113 (2017) (“[S]tandard
economic analysis suggests that enforcement of adhesive consumer
arbitration agreements tends over time to lower the prices of the goods
and services consumers buy.”).

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hundreds of millions of dollars in arbitration fees. The goal is to coerce a

settlement, regardless of the underlying merits, through the extortionate

timing of arbitration fees that prevents companies from verifying that

each claim properly belongs in arbitration before the nonrefundable fees

must be paid. See Mass Arbitration Shakedown, supra, at 18-19; Live

Nation Br. 7-8.

     This abusive tactic rests on two factors: exploiting unfairly

companies’ obligation to pay arbitration fees and the use of questionable

claimant-recruiting practices.

           1.     Leveraging fee-payment provisions to coerce
                  settlements.

     Many arbitration agreements select the American Arbitration

Association (“AAA”) or JAMS as the third-party administrator for

consumer arbitrations. These providers are generally recognized to

employ fair procedures for the selection of arbitrators, and each has a

strong roster of experienced, neutral lawyers, including former judges,

who serve as arbitrators.

     In this case, the prior versions of the parties’ arbitration

agreements selected JAMS. Under the JAMS fee schedule, if a consumer

initiates arbitration against a company, the company must pay a filing


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fee of at least $1,750 ($2,000 if the company agrees to pay the consumer’s

$250 filing fee). 8 After paying the initial filing fee, the company then

must pay substantial additional fees, including uncapped hourly fees for

the arbitrator’s services and a 13% case management fee.

        The American Arbitration Association (AAA) consumer fee

schedule results in more certain but still considerable fees: if a customer

requests a hearing (even a telephonic or Zoom hearing), a company must

pay $4,775 in AAA fees per case, win or lose.9 And the lion’s share of these

fees must be paid almost immediately after the arbitration is filed.10 In a

mass arbitration, the AAA only slightly reduces the initial filing fees and

leaves the other fees unchanged, gradually lowering the business’s cost


8   See JAMS, Arbitration Schedule of Fees and Costs,
https://bit.ly/3FVt1aB (last visited Nov. 20, 2023). Many companies agree
to pay the entire arbitration fee for small claims to make the arbitration
process accessible for consumers seeking to assert such claims.
9 See AAA, Consumer Arbitration Rules: Costs of Arbitration (Aug. 1,
2023),     https://adr.org/sites/default/files/Consumer-Fee_Schedule.pdf.
Specifically, the business would pay the business’s $375 filing fee, a
$1,400 case-management fee, a $500 hearing fee, and an arbitrator fee of
$2,500 per day of hearing. Id. at 1. If a business agrees to pay the
consumer’s $225 filing fee, the total goes up to $5,000 per case.
10 The filing fees and arbitrator fees are charged as soon as the case is

accepted for administration, and the case-management fee is charged as
soon as the AAA deems the case ready for arbitrator selection. AAA,
Consumer Arbitration Rules: Costs of Arbitration, supra.

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per case to $4,500—or $3,000 if the consumer requests to dispense with

hearings.11

     Importantly, companies have little choice in paying these fees. To

ensure that invoking arbitration is not burdensome to consumers, the

AAA rules limit the consumer’s share of arbitration fees to $225 and the

JAMS rules limit the consumer’s share of arbitration fees to $250.12

     These fees imposed on companies become astronomical when

aggregated to threaten a mass arbitration filing of tens of thousands of

claims at once. The looming gigantic payment obligation—which the

business must pay before it can verify whether the claimant is a bona fide

party to an arbitration agreement with the business, much less offer any

defense to the claims—creates leverage to force blackmail settlements.




11 The AAA has adopted procedural rules governing mass arbitrations,

but those rules do not address or reduce the fees that a business owes for
each arbitration. See AAA, Mass Arbitration Supplementary Rules (Aug.
1, 2023), https://www.adr.org/sites/default/files/Supplementary_Rules_
Mass_Arbitration.pdf.
12 See
     AAA, Consumer Arbitration Rules: Costs of Arbitration, supra;
JAMS, Arbitration Schedule of Fees and Costs, supra.

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     Consider a business threatened with 50,000 mass arbitrations—

fewer than the number that Uber (60,000)13 and Amazon (75,000)14 faced.

Under the AAA’s current fee schedule, if the claimants request telephonic

or Zoom hearings, the business’s immediate upfront cost would be well

over $200 million. And the business would be required to pay this amount

even if it later won every case (and even if the claimants were not in fact

customers of the company or failed to show up to the hearing).

     Plaintiffs’ lawyers know that tens of thousands of arbitrations will

not be conducted immediately and simultaneously. They could not appear

in each of those cases, and arbitration providers could not process them

or provide arbitrators to decide them. The sole reason for the threat of

simultaneous filing is to coerce a settlement.

     Businesses face substantial risks if they refuse to pay the fees or

seek to delay payment until after verifying the claims’ legitimacy. The

AAA, for example, warns that if a business fails to timely pay an invoice,

the AAA “may decline to administer future consumer arbitrations with



13 Andrew Wallender, Uber Settles ‘Majority’ of Arbitrations for at Least

$146M, Bloomberg Law (May 9, 2019), https://bit.ly/3z5E0LD.
14 Amanda Robert, Amazon Drops Arbitration Requirement After Facing

75,000 Demands, ABA J. (June 2, 2021), https://bit.ly/3URJuTj.

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that business.” The nonpayment of fees could end the company’s

arbitration program.15 And in California, Civil Code Sections 1281.97-99

threaten businesses with harsh sanctions if they fail to pay arbitration

fees within 30 days.16

     Plaintiffs’ law firms have exploited these dynamics to try to achieve

quick and lucrative settlements. After all, a business facing the threat of

$200 million in AAA fees may find it difficult to reject a $20 million

settlement demand, even if the underlying claims are meritless.




15 AAA, Consumer Arbitration Rules, supra. See Fishon v. Peloton
Interactive, Inc., 336 F.R.D. 67, 68 (S.D.N.Y. 2020) (after more than 2,700
Peloton consumers filed individual arbitration demands with AAA,
Peloton failed to pay required fees and AAA refused to accept any more
demands against Peloton).
16 If a business does not pay the fees within 30 days, the plaintiff
consumer or employee can either (1) “[w]ithdraw the claim from
arbitration and proceed in a court of appropriate jurisdiction,” in which
case “the court shall impose sanctions on the drafting party”; or (2)
“[c]ompel arbitration in which [case] the drafting party shall pay
reasonable attorney’s fees and costs related to the arbitration.” Cal. Civ.
Proc. Code § 1281.97; see also id. §§ 1281.98 & 1281.99.
The Chamber has elsewhere explained why this rule, which imposes
special penalties on arbitration agreements as compared to other
contractual agreements, violates the FAA. See Amicus Curiae Br. of the
Chamber of Commerce of the United States in Supp. of Pls.-Appellants
15-30, Intuit Inc. v. 9,933 Individuals, No. B308417 (Cal. Ct. App. Mar.
19, 2021).

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     The economic pressure of mass arbitrations is even greater than the

pressure imposed by class actions, which Judge Friendly famously

recognized can lead to “blackmail settlements.”17

     Today, for plaintiffs’ firms threatening mass arbitrations,

blackmail settlements are the entire point. “[A]busive mass arbitrations

are the 21st-century equivalent of the abusive class actions that

characterized the last part of the 20th century—claims that can be

brought solely for the purpose of extracting a settlement unrelated to the

merits by leveraging the threat of huge costs.”18

     Georgetown Professor J. Maria Glover has stated candidly—after

interviewing plaintiffs’ lawyers who originated the mass-arbitration

strategy—that “[t]he mass-arbitration model operates on its ability to

impose significant in terrorem settlement pressure” through the

imposition of “astounding” fees that “can spell financial catastrophe for a

potential defendant.” 19 Professor Glover concluded that the settlement

pressure imposed by a mass arbitration—even one asserting “more


17 Henry J. Friendly, Federal Jurisdiction: A General View 120 (1973).

18 Mass Arbitration Shakedown, supra, at 5.

19 J. Maria Glover, Mass Arbitration, 74 Stan. L. Rev. 1283, 1345, 1349,

1380 (2022).

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dubious claims”—can be greater than that imposed by a certified class

action.20

            2.    Abusive claimant recruitment practices.

      The coercive leverage from a threatened mass arbitration stems

from the amount of arbitration fees that the target company will be

obligated to pay—and that turns entirely on the number of claims the

plaintiff’s lawyer is able to threaten. The more claims, the greater the

threat. Because arbitration providers require payment without any

vetting of the legitimacy of the claim—without even proof that the

claimant is a customer of the target company—plaintiffs’ lawyers have a

powerful incentive to focus on the quantity of claims without regard to

their quality. That reality is spawning disturbing abuses in the claimant-

recruitment process.

      Unlike class actions, where plaintiffs’ lawyers predominantly

communicate with a few named plaintiffs to initiate a case, and the

subsequent court-supervised class-certification process provides certain




20 Id. at 1350; see also id. at 1352 (“Simply put, mass arbitration shows

that when it comes to in terrorem effects[,]” “the leverage of a large
number of individual arbitrations can sometimes exceed the leverage
created by aggregate proceedings.”).

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guarantees about the characteristics of unnamed class members, mass

arbitrations require individualized vetting and attention from plaintiffs’

lawyers for each arbitration claim that they file (or threaten to file).

     Plaintiffs’ lawyers should be vetting their clients to ensure that

they have a basis for presenting a claim for resolution by arbitration and

communicating with their clients throughout the process—indeed, those

steps are mandated by the rules of professional conduct.

     For example, lawyers may not “bring or defend a proceeding, or

assert or controversy an issue therein, unless there is a basis in law and

fact for doing so.” ABA Model R. of Prof. Conduct 3.1. And to comply with

that requirement, they must “inform themselves about the facts of their

clients’ cases and the applicable law and determine that they can make

good faith arguments in support of their clients’ positions.” ABA Model

R. of Prof. Conduct 3.1 cmt. 2; see also, e.g., Harry M. Reasoner, et al.,

Business & Commercial Litigation in Federal Courts § 85.14 (5th ed.

Supp. 2021) (“Like Fed. R. Civ. P. 11, Model Rule 3.1 and analogous state

rules generally impose a duty of investigation on the lawyer.”). The rules

also require communication between lawyers and their clients. See, e.g.,

ABA Model R. of Prof. Conduct 1.4.



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      But recent experience suggests that at least some plaintiffs’ lawyers

are not following these requirements. See Mass Arbitration Shakedown,

supra, at 30-40. For example, in a recent mass arbitration against Wells

Fargo over overdraft fees, only about 11 percent of nearly 4,000 claimants

could provide basic information required to confirm that they had a

legitimate claim—an account number and confirmation of having

incurred the challenged fee.21 Over 1,600 claimants (around 45 percent)

admitted that they were not charged that fee, and the rest have not

responded.22

      In another mass arbitration involving Intuit, the maker of

TurboTax, plaintiffs’ counsel had to drop thousands of arbitration claims

because, according to Intuit’s counsel, it turns out their clients were not

in fact customers of Intuit or had never incurred the disputed charge.23

      Nor are the Wells Fargo and Intuit incidents unique; even the

limited publicly available information about filed or threatened mass




21 See Rule 28(j) Letter at 1, Mosley v. Wells Fargo & Co., No. 23-55478,

Dkt. No. 25-1 (9th Cir. Nov. 15, 2023).
22 See id.

23 See Decl. of Roger Cole ¶¶ 21-22, In re Intuit Free File Litig., No. 3:19-

cv-2546-CRB, Dkt. 192 (N.D. Cal. Dec. 7, 2020).

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arbitrations shows that other companies facing mass arbitrations have

had similar experiences. 24 This pattern confirms that lawyers cannot

blindly trust the unverified information typed into online forms by

strangers recruited to be arbitration claimants. And the failure to engage

in appropriate verification harms everyone: not just businesses but

consumers as well—and the integrity of the legal system.

                                 *    *     *   *   *

      In sum, mass arbitrations routinely involve questionable practices.

Plaintiffs’ counsel seek to create coercive settlement leverage based not

on the merits of the claims but on the fact that many businesses agree to

pay the costs of arbitration. And the need to recruit large numbers of

claimants to create a sufficient level of coercion provides an incentive for

abusive recruiting practices.



24 See, e.g., In re CenturyLink Sales Pracs. & Sec. Litig., 2020 WL
3513547, at *2-3 (D. Minn. June 29, 2020) (after mass arbitration
claimants were selected solely “based on their responses to
questionnaires,” defendant found that it “could not identify any potential
customer account that could be connected with some” claimants, with
some even “claim[ing] to receive services at addresses in states in which
[the defendant] does not provide services”); Abernathy v. DoorDash, Inc.,
438 F. Supp. 3d 1062, 1065 (N.D. Cal. 2020) (869 arbitration claimants
failed to provide sufficient evidence to allow the court to find that they
had arbitration agreements with defendant).

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     But the process of coercing settlements by threatening a mass

arbitration has worked—and mass arbitrations have proliferated in

recent years. See Mass Arbitration Shakedown, supra, at 18-19.25

     Companies dealing with a mass arbitration face a Hobson’s choice:

either pay the overwhelming bill for arbitration fees in order to have an

opportunity to investigate and defend against the claims on the merits,

or accept under duress a settlement that reflects the threatened fees

rather than the merits of the claims.

     Some companies, like Amazon, which faced more than 75,000

arbitration demands in 2021, abandoned their consumer arbitration

clauses and thus the mutual benefits of arbitration for dispute

resolution. 26 Other businesses have had to pass along the cost of

blackmail settlements to their customers in the form of higher prices and




25 Publicreports indicate that large mass arbitrations also have been
pursued against Uber, DoorDash, Postmates, FanDuel, DraftKings,
Chegg, Chipotle, CenturyLink, Dollar Tree, Wells Fargo, and many other
companies. See, e.g., Mass Arbitration Shakedown, supra, at 19-21;
Glover, 74 STAN. L. REV. at 1387-90; McCune Wright Arevalo, PR
NewsWire (Apr. 12, 2022), https://bit.ly/47RvVt1; Alison Frankel, Mass
Consumer Arbitration Is On! Ed Tech Company Hit With 15,000 Data
Breach Claims, Reuters (May 12, 2020), https://reut.rs/3z1uwAU.
26 See Robert, supra note 14.




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to workers in the form of lower wages or fewer jobs. Still others have

likewise had to pass along the costs of gigantic arbitration fees and the

cost of resolving mass arbitrations. None of these results is desirable.

     C.    The Court should not foreclose reasonable responses to
           abusive mass arbitrations, such as the use of
           bellwether arbitrations.

     Faced with the threat of abusive efforts to coerce settlements,

businesses have sought to devise reasonable solutions that preserve

merits-based decision-making while protecting the right of legitimate

claimants to obtain relief through arbitration.

     One such solution is modeled on MDL courts’ use of bellwether

proceedings to resolve large numbers of individual lawsuits. Although

bellwether trials are not impervious to abuse, one federal judge has

described them as “one of the most innovative and useful techniques for

the resolution of complex cases.” Hon. Eldon E. Fallon, Bellwether Trials

in Multidistrict Litigation, 82 Tul. L. Rev. 2323, 2323 (2008).

     As the Fifth Circuit has explained, “If a representative group of

claimants are tried to verdict, the results of such trials can be beneficial

for litigants who desire to settle such claims by providing information on

the value of the cases as reflected by the jury verdicts.” In re Chevron



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U.S.A., Inc., 109 F.3d 1016, 1019 (5th Cir. 1997); see also In re Methyl

Tertiary Butyl Ether (“MTBE”) Prods. Liab. Litig., 2007 WL 1791258, at

*2-3 (S.D.N.Y. June 15, 2007).

     MDLs—and the judges overseeing them—have proven to be

remarkably effective at achieving settlement. Since 1968, when Congress

passed the MDL statute, MDL judges to whom cases were transferred

terminated 97 percent of cases themselves, sending fewer than 3 percent

back to the originating courts.27

     The MDL approach is an excellent fit for the mass-arbitration

problem. As in the MDL context, the question is how to fairly resolve a

large number of individualized actions.

     An appropriately structured bellwether approach protects all

parties. It preserves the benefits of individualized arbitration discussed

above by ensuring that parties can feasibly be heard on the merits while

encouraging an orderly settlement process. And it encourages reasonable

settlements by requiring litigants to seriously assess their case as they


27See U.S. Judicial Panel on Multidistrict Litigation, Statistical
Analysis of Multidistrict Litigation Under 28 U.S.C. § 1407 Fiscal Year
2021, 3 (2021), https://bit.ly/3feso28 (“Since the creation of the Panel in
1968, . . . a total of 17,357 actions have been remanded for trial and
647,396 actions have been terminated in the transferee court.”).

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prepare and by providing “real-world evaluations of the” claims through

their adjudication. Hon. Eldon E. Fallon, supra, 82 Tul. L. Rev. at 2325.

     The fact that a bellwethering process defers most fees until claims

are ready to be decided makes it feasible to obtain merits-based decisions

that can guide settlement decisions. And some of the money saved in

arbitration fees can be used to fund a settlement with real value for

claimants, if appropriate. A bellwether process thus promotes resolution

based on the merits, rather than based only on the threatened amount of

aggregated arbitration fees.

     In addition, bellwether proceedings do not result in delay; they

encourage resolution of the vast majority of claims in a reasonable time

frame—as evidenced by the disposition of cases consolidated into MDLs.

Mass arbitrations can follow the same pattern.28

     Moreover, not even the largest arbitration providers can

simultaneously arbitrate tens of thousands of cases. For example, the

AAA assigns all cases to a small roster of arbitrators, who then adjudicate



28 See Matthew C. Helland, Costs of Defense in Mass Individual Wage-
and-Hour Arbitrations: A Case Study, PLI Current Vol. 3, No. 1 at 215-
16 (Winter 2019) (reporting that mass arbitration settled following
arbitration of five test cases).

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each claim individually.29 That means they are resolved seriatim, just as

they would be under the more orderly bellwether process.

       Recent arbitration agreements employ a range of different

approaches in adapting the bellwether model:

          • Some provide for bellwethers—separate arbitration of claims

             in tranches (e.g., 25, 30, or 50 test cases at a time).30

          • Some additionally require a mediation process for remaining

             claims after each bellwether tranche is completed.31

          • Others batch multiple arbitrations (e.g., 50 or 100) into a

             single case before a single arbitrator.32

          • And still others use both batching and bellwethers.33




29   See AAA, Mass Arbitration Supplementary Rules, supra, at 7-8.
30See, e.g., Best Buy Terms and Conditions, https://bit.ly/3sFawEj;
Wayfair Terms of Use, https://terms.wayfair.io/en-US#terms.
31See, e.g., AT&T Consumer Service Agreement § 1.3.2.7, https://
www.att.com/legal/terms.consumerServiceAgreement.html;         Discord
Terms of Service § 15, https://discord.com/terms; Nordstrom Terms and
Conditions § 16, https://bit.ly/3MLCOUs.
32 See, e.g., Doordash Consumer Terms and Conditions § 14(g), https://
bit.ly/3ujOwiG; Grubhub Terms of Use, https://www.grubhub.com/legal/
terms-of-use.
33See, e.g., Bath & Body Works Terms of Use § 11(D), https://bit.ly/
3R0AD1U; Uber U.S. Terms of Use § 2(3)(c), https://bit.ly/3SMGjh8.

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        • Many agreements leave in place the arbitrator’s discretion,

           specified in the AAA and JAMS rules, to determine the

           appropriate amount of discovery, process for written and oral

           submissions to the arbitrator, and other procedural matters.34

     There is value in this experimentation. The FAA affords “parties

discretion in designing arbitration processes” that are “tailored to the

type of dispute.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 344

(2011); see also Epic Sys., 138 S. Ct. at 1621 (FAA protects parties’ ability

to fashion appropriate “rules under which th[eir] arbitration will be

conducted”) (emphasis omitted); Live Nation Br. 5.

     Especially given the wide variety of procedures businesses have

adopted and are continuing to adopt, this Court should not stifle

bellwethering and other forms of reasonable solutions to the very real

abuses posed by some mass arbitrations and threatened mass

arbitrations.




34 See AAA, Consumer Arbitration Rules (Sept. 1, 2014), https://adr.org/
sites/default/files/Consumer-Rules-Web_0.pdf;    JAMS,       Consumer
Arbitration Minimum Standards (July 15, 2009), https://
www.jamsadr.com/consumer-minimum-standards/.

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II.   The District Court Erred By Straining To Invalidate The
      Arbitration Agreement And Its Delegation Clause.

      In light of the genuine problems posed by mass arbitration, the

district court should have sought to preserve an arbitration process

designed to protect against those abuses. Instead, the district court at

every turn failed to give the arbitration provision and its delegation

clause a reading that would preserve the parties’ core agreement to

arbitrate and effectuate the FAA’s policy favoring the resolution of

disputes by arbitration. As set forth in Live Nation’s brief (at 21-62),

there are several reasons why the district court incorrectly applied the

FAA and California law.35

      To begin, the district court’s overall approach to interpreting the

agreement is troubling. The district court gave short shrift to the FAA’s

“liberal federal policy favoring arbitration agreements.” Epic Sys., 138 S.

Ct. at 1621 (quotation marks omitted). For example, when the issue is

whether an arbitration clause covers the parties’ dispute, the FAA, as a




35 The Chamber addresses only the district court’s discussion of
substantive unconscionability because the court’s errors on that issue
alone require reversal, as both procedural and substantive
unconscionability are required to invalidate a contract or a specific
contract term.

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matter of substantive federal law, requires resolving any uncertainty

about the scope of an arbitration agreement “in favor of arbitration.”

Lamps Plus, Inc. v. Varela, 139 S. Ct. 1407, 1418 (2019) (emphasis

added).

     The district court’s tilt towards invalidation also runs afoul of the

general contract principle that contracts should be interpreted whenever

possible to make them “‘lawful, operative, definite, reasonable and

capable of being carried into effect.’” Serpa v. Cal. Surety Investigations,

Inc., 215 Cal. App. 4th 695, 708 (2013) (quoting Cal. Civ. Code § 1643).

     The district court assumed that any uncertainties—such as the

effect of bellwether cases on future arbitrations or whether the

arbitrators would exercise their discretion to allow for sufficient

discovery and briefing—would be resolved in a way that results in an

unfair arbitration.36 That approach was doubly problematic.




36 The district court here also relied on the opinion in MacClelland v.
Cellco Partnership, 609 F. Supp. 3d 1024 (N.D. Cal. 2022), appeal
pending, No. 22-16020 (9th Cir. filed July 13, 2022). While the parties in
MacClelland have indicated that the case has been settled, the Chamber
previously explained in its amicus brief in that case why the MacClelland
opinion is wrong. See No. 22-16020, Dkt. Nos. 20, 74.

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     For starters, it runs afoul of this Court’s holding that courts should

not consider challenges to contractual terms whose applicability has been

waived. See Mohamed v. Uber Techs., Inc., 848 F.3d 1201, 1212 (9th Cir.

2016) (declining to consider plaintiffs’ objection to a fee term in an

arbitration agreement because “Uber has committed to paying the full

costs of arbitration”); see also Tompkins v. 23andMe, Inc., 840 F.3d 1016,

1033 (9th Cir. 2016) (Watford, J., concurring) (noting “no need to address

whether the fee-shifting clause is substantively unconscionable because

23andMe has waived its right to enforce that clause”). The district court

at minimum should have treated New Era’s clarifications of its arbitral

process as sufficient to constitute a waiver by Live Nation of any attempt

to enforce the arbitration procedures in a way that the district court

found troubling.

     It also was inappropriate for the district court to assume that the

arbitration process would not unfold fairly. The district court

acknowledged that plaintiffs had not shown that the arbitrators would

be biased. 1-ER-17-18. And given the absence of evidence to support the

district court’s fears of how a neutral arbitrator might apply the rules,

that mere “‘risk’ . . . is too speculative to justify the invalidation of an



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arbitration agreement.” Green Tree Fin. Corp.-Ala. v. Randolph, 531 U.S.

79, 91 (2000). Instead, the Supreme Court has held that when there is

“uncertainty” about how arbitration might unfold, “the proper course is

to compel arbitration”—not to deny it “on the basis of ‘mere speculation’”

about how “an arbitrator might” act. PacifiCare Health Sys., Inc. v. Book,

538 U.S. 401, 406-07 (2003) (holding that the lower courts should not

have presumed that an arbitrator would interpret the arbitration

agreement’s prohibition on awarding punitive damages to foreclose

awarding statutory treble damages).

     Finally, the district court’s refusal to address its concerns about the

parties’ choice of New Era by severing that provision and enforcing the

remainder of the arbitration agreement, or enforcing the parties’ prior

arbitration agreement, was wrong for the reasons explained by Live

Nation (Br. at 55-62).

     The district court acknowledged that, as a backup to New Era, the

clause expressly allowed for arbitration by either FairClaims or another

arbitration provider agreed to by the parties. 1-ER-30. Yet the district

court declined to consider whether these alternatives would satisfy its

concerns because the parties had not briefed the issue. But the court’s



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implicit holding that Live Nation was required to defend the validity of

these backup processes turns the burden of proof on its head: it was

plaintiffs’ burden to demonstrate that the agreement and its delegation

clause were unconscionable and unenforceable. See Poublon v. C.H.

Robinson Co., 846 F.3d 1251, 1260 (9th Cir. 2017) (under California law,

“the party opposing arbitration must demonstrate that the contract [for

arbitration] as a whole or a specific clause in the contract is both

procedurally and substantively unconscionable”) (citing Sanchez v.

Valencia Holding Co., 353 P.3d 741, 748 (Cal. 2015)); see also Green Tree,

531 U.S. at 91 (“[T]he party resisting arbitration bears the burden of

proving that the claims at issue are unsuitable for arbitration.”).

Accordingly, the absence of a briefed challenge to these backup

procedures should have been a reason to enforce the arbitration clause,

not invalidate it—or at minimum, to call for supplemental briefing on the

issue.

                                  CONCLUSION

     The district court’s order denying arbitration should be reversed.




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Dated: November 20, 2023                Respectfully submitted,

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1.   9th Cir. Case Number(s)           No. 23-55770

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     I hereby certify that I electronically filed the foregoing with the

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